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                                              EXHIBIT B




                                              EXHIBIT B
                                                                                          Rhodes Homes - Organizational Structure
                                                                                                                                               Rhodes                                                                             Sedora
                                            Sagebrush                                100%                                               ~ Ranch,llC                                                                             Holdings,LLC
                                          Enterprises, Inc.                                                                                  (Non-debtor)                                                                       (Non-debtor)
                                           (Non-debtor)

                                              100%



                                                                                     94.363%                                                   5.637%                                           5.694%            94.306%
                                                                                                                    y
                                                                                                                /
                                                                                                            .//Rhodes
                                                                                                                 ,-.-',""-"
                                                                                                             '" _~anch, G~/"
                                                                                                                                                                                                                                                            Case 09-14814-gwz




                                                                                                                100%




                                              100%
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                                                                                 .
                                                                                                                 Rhodes
                                                                                                                                        Rhodes          Tuscany Golf     Tuscariy             Tuscany
                                                                                                                                                                                                                    -i
                                                                                                                                                                                                                   Tuscany
                                                                              Rhodes                             Arzona                                                                                                            TusCaY
                                                                             Designand'                                                 Homes           CoUntry Club~   Acquisili:ns~        Acquisitions                         AcquIsitions   Part120,
                                                                                                                Properties,                                                                                       ACuisitions                      LLC
                                                                        .-Development Corp,-'-                                      Arzona, LLC             LLC             lLC                n,llC                Il, LLC         IV,LLC
                                                                                                                    LLC

      ___'__n.....n_...._.______
     '-JericoTrust--
)%   .~_~on-debto~t_               100%                                                                                                  100%                                           1%                  99%




          50%                                                                                                                         Plrinacle
                                                                                                                                    ~mdlng, lLCI
                                                                                                                                                                                                                                                            Entered 10/27/09 19:13:46




                                                                    ~                                          Qi
                                                                                                                         HoldingI
                                                              GP                          lP                             Investment
                                                                                                                         Enlity

                                                                                                                        Non-Operating    I
                                                              LLC                         S Corporation             = Wind-down Enliy
                                                                                                                                                                                                                                                            Page 2 of 26




                                                              Trust                                                      Operating Enlity                                                                                        8:46:36 AM 4/15/2009
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                                              EXHIBIT C




                                              EXHIBIT C
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                                              EXHIBIT D




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                                              EXHIBIT D
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                                                  EXHIBIT D

                                           Going Concern Analysis

The First Lien Steering Committee believes that the Plan meets the feasibility requirement set forth in
section 1129(a)(11) of the Bankruptcy Code, as confirmation is not likely to be followed by liquidation or
the need for further financial reorganization of the Debtors or any successor under the Plan, In
connection with the development of the Plan and for the purposes of determining whether the Plan
satisfies this feasibility standard, the First Lien Steering Committee analyzed the Debtors' abilty to
satisfy their financial obligations while maintaining sufficient liquidity and capital resources, The First
Lien Steering Committee, through its financial advisor, Winchester Carlisle Partners ("WCP"), and its
valuation consultant, Robert Charles Lesser & Company ("RCLCO"), developed a business plan and
prepared financial projections (the "Projections") for the fiscal years 2010 to 2014 (the "Projection
Period"), The Going Concern Analysis relies principally upon the application of the discounted cash flow
methodology (as further explained below), to arrive at a total enterprise value range of the Reorganized
Debtors as of January 1, 2010, of $89.2 million to $111.5 millon.

The Debtors do not, as a matter of course, publish their business plans or strategies, projections or
anticipated financial position, Accordingly, the First Lien Steering Committee does not anticipate that
the Debtors will, and disclaims any obligation to, furnish updated business plans or projections to
Holders of Claims or other parties in interest after the Confirmation Date, or to include such information
in documents required to be filed with any governmental or regulatory entity or otherwise make such
information public.

In connection with the development of the Plan, the Projections were prepared by the First Lien
Steering Committee to present the anticipated impact of the Plan. The Projections assume that the Plan
will be implemented in accordance with its stated terms, The Projections are based on forecasts of key
economic variables and may be significantly impacted by, among other factors, changes in the
competitive environment, regulatory changes and/or a variety of other factors, including those factors
listed in the Plan and Disclosure Statement. Accordingly, the estimates and assumptions underlying the
Projections are inherently uncertain and are subject to significant business, economic and competitive
uncertainties, Therefore, such Projections, estimates and assumptions are not necessarily indicative of
current values or future performance, which may be significantly less or more favorable than set forth
herein. The Projections included herein were prepared in September 2009, The First Lien Steering
Committee and its professionals are unaware of any circumstances as of the date of this Disclosure
Statement that would require the re-forecasting of the Projections due to a material change in the
Debtors' prospects,


The Projections consist of   the following unaudited pro forma financial statements: a balance sheet (the
"Opening Balance Sheet") projected as of an assumed Effective Date of January 1,2010; a projected
balance sheet (the "Balance Sheet") as of each year end from December 31,2010 through December 31,
2014; a projected income statement (the "Income Statement") for January 1, 2010 through December
31,2014; and a projected cash flow statement (the "Cash Flow Statement") for January 1, 2010 through
December 31, 2014. The Projections should be read in conjunction with the significant assumptions and
qualifications set forth in the notes below, and elsewhere in the Disclosure Statement, which comprise
an integral part of the Projections and should be referenced in connection with any review of the
Projections.
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THE FIRST LIEN STEERING COMMITTEE PREPARED THE PROJECTIONS WITH THE ASSISTANCE OF ITS
PROFESSIONALS, THE FIRST LIEN STEERING COMMITTEE DID NOT PREPARE SUCH PROJECTIONS TO
COMPLY, OR ALLOW   THE DEBTORS TO COMPLY, WITH THE GUIDELINES FOR PROSPECTIVE FINANCIAL
STATEMENTS PUBLISHED BY THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS OR THE
RULES AND REGULATIONS OF THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION, THE
DEBTORS' INDEPENDENT ACCOUNTANTS HAVE NEITHER EXAMINED NOR COMPILED THE PROJECTIONS
THAT ACCOMPANY THE DISCLOSURE STATEMENT AND, ACCORDINGLY, DO NOT EXPRESS ANY OPINION
OR ANY OTHER FORM OF ASSURANCE WITH RESPECT    TO THE PROJECTIONS, ASSUME NO
RESPONSIBILITY FOR THE PROJECTIONS, AND DISCLAIM ANY ASSOCIATION WITH THE PROJECTIONS,
EXCEPT FOR PURPOSES OF THE DISCLOSURE STATEMENT, THE DEBTORS DO NOT PUBLISH PROJECTIONS
OF THEIR ANTICIPATED FINANCIAL POSITION OR RESULTS OF OPERATIONS, THE PROJECTIONS ARE
QUALIFIED IN THEIR ENTIRETY BY THE DESCRIPTION THEREOF CONTAINED IN ARTICLE V OF THE
DISCLOSURE STATEMENT,

MOREOVER, THE PROJECTIONS CONTAIN CERTAIN STATEMENTS THAT ARE "FORWARD-LOOKING
STATEMENTS" WITHIN THE MEANING OF THE PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995,
THESE STATEMENTS ARE SUBJECT TO A NUMBER OF ASSUMPTIONS, RISKS, AND UNCERTAINTIES, MANY
OF WHICH ARE BEYOND THE CONTROL OF THE DEBTORS AND THE FIRST LIEN STEERING COMMITTEE,
INClUDING THE CONSUMMATION AND IMPLEMENTATION OF THE PLAN, THE CONTINUING
AVAILABILITY OF SUFFICIENT BORROWING CAPACITY OR OTHER FINANCING TO FUND OPERATIONS,
ACHIEVING OPERATING EFFICIENCIES, COMMODITY PRICE FLUCTUATIONS, CURRENCY EXCHANGE RATE
FLUCTUATIONS, MAINTENANCE OF GOOD EMPLOYEE RElATIONS, EXISTING AND FUTURE
GOVERNMENTAL REGULATIONS AND ACTIONS OF GOVERNMENT BODIES, NATURAL DISASTERS AND
UNUSUAL WEATHER CONDITIONS, ACTS OF TERRORISM OR WAR, INDUSTRY-SPECIFIC RISK FACTORS (AS
DETAILED IN ARTICLE VI OF THE DISClOSURE STATEMENT ENTITLED "CERTAIN FACTORS TO BE
CONSIDERED PRIOR TO VOTING"), AND OTHER MARKET AND COMPETITIVE CONDITIONS. HOLDERS OF
CLAIMS ARE CAUTIONED THAT THE FORWARD-LOOKING STATEMENTS SPEAK AS OF THE DATE MADE
AND ARE NOT GUARANTEES OF FUTURE PERFORMANCE, ACTUAL RESULTS OR DEVELOPMENTS MAY
DIFFER MATERIALLY FROM THE EXPECTATIONS EXPRESSED OR IMPLIED IN THE FORWARD-LOOKING
STATEMENTS, AND THE DEBTORS UNDERTAKE NO OBLIGATION TO UPDATE ANY SUCH STATEMENTS,

THE PROJECTIONS, WHILE PRESENTED WITH NUMERICAL SPECIFICITY, ARE NECESSARILY BASED ON A
VARIETY OF ESTIMATES AND ASSUMPTIONS WHICH, THOUGH CONSIDERED REASONABLE BY THE FIRST
LIEN STEERING COMMITTEE, MAY NOT BE REALIZED AND ARE INHERENTLY SUBJECT TO SIGNIFICANT
BUSINESS, ECONOMIC, COMPETITIVE, INDUSTRY, REGULATORY, MARKET, AND FINANCIAL
UNCERTAINTIES AND CONTINGENCIES, MANY OF WHICH ARE BEYOND THE REORGANIZED DEBTORS'
CONTROL THE FIRST LIEN STEERING COMMITTEE CAUTIONS THAT NO REPRESENTATIONS CAN BE
MADE OR ARE MADE AS TO THE ACCURACY OF THE PROJECTIONS OR TO THE REORGANIZED DEBTORS'
ABILITY TO ACHIEVE THE PROJECTED RESULTS. SOME ASSUMPTIONS INEVITABLY WILL BE INCORRECT.
MOREOVER, EVENTS AND CIRCUMSTANCES OCCURRING SUBSEQUENTTO THE DATE ON WHICH THE
FIRST LIEN STEERING COMMITTEE PREPARED THESE PROJECTIONS MAY BE DIFFERENT FROM THOSE
ASSUMED, OR, ALTERNATIVELY, MAY HAVE BEEN UNANTICIPATED, AND THUS THE OCCURRENCE OF
THESE EVENTS MAY AFFECT FINANCIAL RESULTS IN A MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL
MANNER, THE FIRST LIEN STEERING COMMITTEE, DEBTORS AND REORGANIZED DEBTORS, AS
APPLICABLE, DO NOT INTEND AND UNDERTAKE NO OBLIGATION TO UPDATE OR OTHERWISE REVISE THE
PROJECTIONS TO REFLECT EVENTS OR CIRCUMSTANCES EXISTING OR ARISING AFTER THE DATE THE
DISCLOSURE STATEMENT IS INITIALLY FILED OR TO REflECT THE OCCURRENCE OF UNANTICIPATED
EVENTS. THEREFORE, THE PROJECTIONS MAY NOT BE RELIED UPON AS A GUARANTY OR OTHER



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ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR, IN DECIDING WHETHER TO VOTE TO ACCEPT
OR REJECT THE PLAN, HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN MUST MAKE THEIR OWN
DETERMINATIONS AS TO THE REASONABLENESS OF SUCH ASSUMPTIONS AND THE RELIABILITY OF THE
PROJECTIONS AND SHOULD CONSULT WITH THEIR OWN ADVISORS,


Pro Forma Balance Sheet


                                                     Esimated                                        Pro Forma
                                                PreøEffective Öate' .   Efective Date              Balance Sheet of
                                                   (12/31/09)            Accounting                 . Rl:~r"9~_nized
                                                 Balance Sheet          Adjustents                      Debtors
ASSETS
   Cash                                                     823,099             1,625.000 (a)                2.448,099
   Accounts receivable-net                                  160.368              (160.368) (b)
  ,pue fr()ni.related parties                               678,697              (678.697) (e)
   Inventories                                          162,449,747           (53,745.109) (d)             108,704,638
   Land Held for Investment                              13.i:~~478            73,488,575 . (d)             87,253.053
   j=rc?'p~ny_,_,pl_ant, and equipment-n~t                3,707,997                                          ,~~7~!'_~_~!m
   Deposits and other asstsnet                            9,584.063            (6,301.039)' (e)              3,283,024

  TOTAL ASSETS                                          191,168,449           14,228,362                   205,396,811

LIABILITIES
   Notes Pëiyable,~.\N~II_s_i=ar90                       72..868,346          (72.868,346UI)
   Notes payable - Credit Suiss                         30t).!5~,?25.        (305,752.225) (I)
   Interest rate ,~edge - Credit Suiss                   20,195,341           (20.195,341) (I)
   Notes payable - Pre..ffective date
   Notes payable - New 'First Lien                                             50,000,000 (9)               50,000,000
   Accounts pc)yable and accme~ liabilities               5,25~,547            (1,580,061) (h)               3,676,486
   Due to related parties                                10,753.010           (10.753,010) (e)
   Customer deposits                                        231,439                                            231,439

  TOTAL LIABILITIES                                     415,056,908          (361,148,983)                  53,907,925

Minority Partners                                            240,690            (240,,690) (e)
Equity                                                  (224,129,149)        375.618,035 (i)               151,488,886
TOTAL L1ABLILITIES .ÅND EQUITY                           191,168,449          14,228,362                   205,396,811

NOTES TO PRO FORMA PROJECTED BALANCE SHEET

    (a) Reflects cash disbursements made pursuant to the Plan at closing and includes $400,000
        payment on emergence to Holders of First Lien Lender Claims consistent with the terms of the
        Plan (with additional payments anticipated in the amount of $220,000 per quarter for the next
        five quarters), $600,000 payment on emergence to Secured Creditors holding Other Secured
          Claims, and $3.5 millon to be received from the Rhodes Entities consistent with the terms of the
          Mediation Settlement. Additionally, this balance reflects $87S,000 paid to satisfy Administrative
          and Priority Claims related to the Chapter 11 cases.

    (b) Reflects the elimination of remaining miscellaneous accounts receivable balances determined to
        be uncollectible, No accounts receivable balances were assumed going forward as the nature of
          the Reorganized Debtors' business will be exclusively homebuilding and will generate only short
          term (typically less than 5 days) receivables from title companies on home closings, As such,
          these funds were included in cash in future years,




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    (c) Reflects the elimination of all pre-Effective Date related party receivable and payable balances
        (intercompany), These amounts may be disputed by the Reorganized Debtors, but solely for
        purposes of this analysis are presumed to have been paid,

    (d) Reflects the "fresh start" accounting adjustment to revalue the inventory assets to market value
        at the Effective Date,



    (e) Represents adjustments to the Deposits and Other Assets to (1) eliminate $5.7 million in
        unamortized loan fees on the pre-Effective Date debt that is being restructured, and (2)
        eliminate $645,000 in capitalized costs on land held for investment, which is being revalued at
        the Effective Date and included in Inventory (see d),

    (f) This amount reflects restructuring and/or forgiveness of debt of (i) $305,8 milion of first lien
         debt, (ii) $20,2 milion interest rate hedge on first lien debt, and (ii) $72,9 million of second lien
        debt.

    (g) Represents the New First Lien Notes of $50 million,

    (h) Reflects the adjustment to reduce warranty accrual to $360,000 based on recent historical
        warranty expenses and number of homes under            warranty at the Effective Date.

    (i) Reflects the net effect of the above changes, which are adjustments to the equity value of the
        Reorganized Debtors.



PROJECTIONS

The First Lien Steering Committee prepared the Projections for the Projection Period. The Projections
are based on a number of assumptions made by the First Lien Steering Committee with respect to the
future performance of the Reorganized Debtors' operations, Although the First Lien Steering Committee
has prepared the Projections in good faith and believes the assumptions to be reasonable, it is
important to note that the First Lien Steering Committee can provide no assurance that such
assumptions will be realized, As described in detail in the Disclosure Statement, a variety of risk factors
could affect the Reorganized Debtors' financial results and must be considered, The Projections should
be reviewed in conjunction with a review of these assumptions, including the qualifications and
footnotes set forth herein,




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Projected Balance Sheet

                                                2010                  2011          2012                   2013             2014
                                                Plan                  Plan          Plan                   Plan             Plan
ASSETS
  C.'"                                            9,626,43             15,000,000    15,000,000              15,000,000      66,386,990
  Inventories and land                          186,731,254           175,751,785   160,9~i-~,!;6,6 ..   . ,144,940,865     103,910,082
  Propert, plant, and equipment-net                 963,945
  Deposits and other ass~net                      4,221,092             3,470,638      2,720,183             4,221,092        3,470,638

 TOTAL ASSETS                                   201,542,724           194,222,423   178,702,748            164,161,957      173,767,709

LIABILITES
  Notospayablö -New First Lion                   !i~,199,,008          48,6~2,572    30,284,168              2,2.28,098 :
  Accounts payablo and accruod Iiabiltios         4,582,904             3,749,369     2,862,426              4,280,253        3,430,893
  Custmer doposits                                  263,089               346,169       482,659                565,740          664,645

 TOTAL LIABILITES                                68,045,001            52,788,111    33,629,252              7,074,092        4,095,539

Equity                                          143,497,723           141,434,312   145,073,496            157,087,866      169,672, 171

TOTAL LIABLILIlES AND EQUITY                    201,542,724           194,222,423   178,702,748            164,161,957 :    173,767,709




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Projected Statement of Cash Flows


                                                                  2010           2011           2012             2013          2014
                                                                  Plan           PI;¡n          Plan             Plan          Plan
CASH FLOWS FROM OPERATING ACTIVITIES:
 Net    income                                                    (7,111,163)    (1,843,411)    3,63'3,184       12,014,36'3   12,684,306
 Adjustents to reconcile net income to net cash provided by
  (use~ ¡n) operating acti,vites:
  Depreciation and amortization                                   2,744,062        963,'346
  Interesteicpense                                                3,199,008       2,118,630      1,374,161          638,274        18,103
  Changes in opllrating aS5ts and liabilities:
   Inventories and land                                           9,226,437      10,979,469    14,769,220        16,041,700    41,030,783

       Nllt cash provided (used) by operating activites           8,068,336      12,218,633    19,782,666        28,694,34     63,633,152

CASH FLOWS FROM INVESTING ACTIVITES:


       Net cash provided (used) by investng activities
CASH FLOWS FROM FINANCING ACTIVITIES:
 Oebtpayncnts                                                                    16;624"S66)   (1'3,782,666)    (28,694,344)   (2,246,202)
 Payments        to General Unsecured Creditors                      (880,000)     (220,000)

       Netcash provided (used) by financing activities               (880,000)   (6,84,566)    (19,782,666)     i28,65Ù44)     (2,246,202)
~E:r I,NCR,EASE/IOECREASE) IN CASH                                ?,178,~36       6,373,666                                    61,386,990

CASH. 8eginning of PerIod                                         2,448,099       9,626,434    16,000,000        16,000,000    16,000,000

CASH. End of Period                                               9,626,434      16,000,000    16,000,000        16,000,000    66,386,990




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Pro Forma Statement of Operations



                                                     2010           2011         2012          2013           2014
                                                     Plan           Plan         Plan          Plan           Plan
Home Closings                                        133            175          244           285            335

Revenues
  Sales of inventory                                 28,655,038     41,378,058   62,000,761    82,815,340    104,006,797
  Sales of land                                                                   1,366,909                   1.~,7~~r~~~.
  Green fees and other golf revenues                     8,221,40    8,472,839    8,132,154     8,999,610      9,275,261
  Contract sales
 Total revenues                                      36,876,442     49,850,897   72,098,824    91,814,950    128,065,686

Cost and expenses:
  Cost of sales - inventory (homes)                  14,588,377     19,758,075   27,54,029     33,968,084    41,189,976
  Land cost of sales~. inYEln"t?'YJh()mes)            8,541,260     11,238,500   15,669,680    18,366,9?~.   21,~7,920
  Cost of sales. land development                     3,837,774      4,718,096    7,118,557     8,269,260     9!9~3,259
  Cost of sales -land sales                                                       1,037,337                  21,273,300
  Sellng, general and administrative                  3,581,880      5,172,257    7,750,095    10,351,918    13,000,850
  Depreciation and 'amörti:iation                     2,.74:,0~2       963,945
  Golf cours cost and expenses                        7,495,254      7,724,904    7,961,781     8,206,126      8,45,973
 Total cost and e,xpenses                            40,788,696     49,575,778   67,085,479    79,162,307    115,453,2n
 Operating Income (Loss)                             (3,912,155)      275,119     5,013,345    12,652,64     12,602,409

Other (income) expense
  Interest expense                                    3,199,008      2,118,530    1,374,161      638,~74.           18,103

Net Income/(Loss)                                    (7,111,163)    (1,84,411)    3,639,1 B4   12,014,369    12,58,306




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KEY ASSUMPTIONS

   A. General


          1. Methodology: The Projections were developed based on inputs from the Debtors, WCP,
                and RCLCO. The Projections are based on assumptions and initiatives, including
                expectations on market stabilization. The key drivers are: (1) average sales price; (2)
                average cost of construction; (3) average lot cost and; (4) annual home sales and
                closings, These key drivers were utilized to forecast the operational plan reflected in
                the income statement, balance sheet, and statement of cash flows, Furthermore, a
                discounted cash flow ("DCF") methodology was utilized to arrive at a value for the
                Debtors' real estate assets by discounting unlevered projected free cash flows to a net
                present value as of the Effective Date, Revenue is derived from the construction and
                sale of single family homes on all single family lots currently in inventory, as well as
                certain multi-family lots and commercial parcels where it was determine that single
                family homes were the highest and best use. Pricing and sales velocity for these homes
                were projected to recover from their currently depressed levels as determined by     an
                analysis of recent and historical sales data, to more sustainable levels of growth by
                2011. Additional revenue is derived from the sale of certain land parcels at prices and
                dates supportable by market conditions, as well as operation and sale of the Tuscany
                Golf Course and the Rhodes Ranch Golf Course,

                A discount rate range of 20%-25% was used in the Going Concern Analysis, reflecting the
                prevailing capital market requirements of similar transactions, Based on the
                methodologies described above and further review, discussions, considerations and
                assumptions, the value of the Debtors' real estate assets as of January 1, 2010 under a
                Going Concern analysis ranges from $89,2 millon to $111.5 million with a midpoint of
                $99,6 million,

          2, Plan Consummation: The operating assumptions assume that the Plan will have an
                Effective Date of January 1, 2010,

          3, Projected Subsidiaries: The Projections include the assets of all the Debtor entities.
              Pinnacle Grading, LLC and the entities under Tribes Holdings, LLC will be phased out and
              operations ended by the Effective Date,

   B. Projected Balance Sheets and Statements of Cash Flow


          1. Cash: The Projections assume the Reorganized Debtors wil maintain a minimum cash
                balance of $15 millon after debt service in 2011 and forward, in accordance with the
                anticipated New First Lien Notes,

          2. Working Capital: Capital expenditures for inventory were forecast based on the
                assumptions for sales absorptions. Inventory days are projected to remain static
                throughout the Projection Period,

          3, Property, Plant, and Equipment: The equipment and fixed assets ofthe company are
                forecast to be fully depreciated by the end of 2011. As the Debtors currently have


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           excess PP&E for the go forward operation, it is not anticipated that any substantial
           purchases in the future will be required,

       4. Deposits and Other Assets: As insurance policies are renewed, premiums are prepaid
           and amortized over the life of the policy periods,

       5. Borrowing (Repayment) of Debt: The first lien debt at the Effective Date is projected to
           be $50 million, Interest on the New First lien Notes shall be payable in Cash quarterly in
           arrears at the Cash pay rate of L1BOR +2%; provided that if the average of the
           Reorganized Debtors' unrestricted consolidated Cash as of the last day of each of the
           two immediately preceding consecutive quarters is less than $15 million or if the
           unrestricted consolidated Cash as of the last day of the immediately preceding quarter
           is less than $15 million (collectively, the "Cash Interest Threshold"), then the
           Reorganized Debtors shall have the option to capitalize the amount of interest due in
           excess of L1BOR for the immediately preceding quarter, with such capitalized interest to
           be capitalized on such interest payment date, and all such capitalized interest shall be
           due on the next interest payment date to the extent the Cash Interest Threshold is met
           after giving effect to the payment of interest and capitalized interest or as the
           Reorganized Debtors otherwise elect. All capitalized interest not previously paid shall
           be paid on the Maturity Date. L1BOR shall be subject to a cap of 2%.


C. Projected Statements of Operations


       1. Total Revenue: Consolidated Revenues consist of Homebuilding Revenue, Land Sales,
           and Golf Course Revenue, Home sales absorptions are projected to remain static in
           2010 and 2011 and increase slowly throughout the remaining forecast period. Average
           sales price is expected to decrease 9.3% in 2010 and then increase 9,8%, 9.1%, 11.3%,
           and 4,0% in years 2011 through 2014, respectively, The Company's land assets are
           forecast to be monetized at prices and dates supportable by market conditions, The
           revenues of the Tuscany Golf Course and the Rhodes Ranch Golf Course are forecast
           based on historical sales and operations,

       2. Cost of Sales: The Company's vertical construction costs are estimated to remain flat on
           average throughout the projection period, Lot costs are based on the allocation of the
           land basis, valued at the Effective Date, to the individuallots, and the projected land
           development costs to be incurred throughout the projection period, While it is
           anticipated that costs wil generally rise toward the latter half of the Projection Period,
           the Reorganized Debtors anticipate that they can achieve design and other cost
           efficiencies to offset any market increases.

       3, Sellng, General, and Administrative Expenses: Overhead operating expenses are
           projected based on historical averages as a percentage of home sales revenue, which
           percentages are projected to remain static throughout the Projection Period.

       4, Golf Course Expenses: The Tuscany Golf Course and Rhodes Ranch Golf Course
           expenses are forecast based on historical profit margins and operations,




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    5, Interest Expense: Interest expense is based on the New First Lien Notes of $50 million,
         Interest on the New First Lien Notes shall be payable in Cash quarterly in arrears at the
         Cash pay rate of UBOR +2%; provided that if the average of the Reorganized Debtors'
        unrestricted consolidated Cash as of the last day of each of the two immediately
        preceding consecutive quarters is less than $15 million or if the unrestricted
        consolidated Cash as of the last day of the immediately preceding quarter is less than
        $15 million (collectively, the "Cash Interest Threshold"), then the Reorganized Debtors
        shall have the option to capitalize the amount of interest due in excess of UBOR for the
        immediately preceding quarter, with such capitalized interest to be capitalized on such
        interest payment date, and all such capitalized interest shall be due on the next interest
        payment date to the extent the Cash Interest Threshold is met after giving effect to the
        payment of interest and capitalized interest or as the Reorganized Debtors otherwise
        elect. All capitalized interest not previously paid shall be paid on the Maturity Date,
        UBOR shall be subject to a cap of 2%.

    6, Taxes: The Projections assume the Reorganized Debtor will not have income tax liabilty
        throughout the projection period based on the utilization of net operating losses.
        Property taxes are capitalized and are included in the lot cost of sales. Sales taxes on
        the golf course operations are included in the Tuscany Golf Course and Rhodes Ranch
        Golf Course expenses,




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                                              EXHIBIT E




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                                                                   EXHIBIT E

                                                           liquidation Analysis

Under the "best interests" of creditors test set forth in section 1129(a)(7) of the Bankruptcy Code, the
Bankruptcy Court may not confirm a plan of reorganization unless the plan provides each holder of a
claim or interest who does not otherwise vote in favor of the plan with property of value, as of the
effective date of the plan, that is not less than the amount that such holder would receive or retain if
the debtor was liquidated under chapter 7 of the Bankruptcy Code. To demonstrate that the Plan
satisfies the "best interests" of creditors test, the First Lien Steering Committee has prepared the
following hypothetical Liquidation Analysis, which is based upon certain assumptions discussed in the
Disclosure Statement, and in the accompanying Liquidation Analysis notes. The conclusion of the
Liquidation Analysis, as set forth below, is a value range of $44.2 million to $SS,O million,

The Liquidation Analysis was prepared by the First Lien Steering Committee through its financial
advisors, Winchester Carlisle Partners ("WCP"), and its valuation consultants, Robert Charles lesser &
Company ("RClCO"). The Liquidation Analysis estimates the potential cash distributions available to
Holders of Allowed Claims in a hypothetical chapter 7 liquidation of the Debtors' assets. The
preparation of this Liquidation Analysis involved extensive use of estimates and assumptions that,
although considered reasonable by the First Lien Steering Committee and its professionals, are
inherently subject to significant business, economic and competitive uncertainties beyond the control of
the Debtors and the First Lien Steering Committee, The First Lien Steering Committee and its
professionals undertake no obligation to update or revise the Liquidation Analysis,

The following notes present the general assumptions that were relied upon in preparing the Liquidation
Analysis, comprise an integral part of the Liquidation Analysis, and should be referenced in connection
with any review of the Liquidation Analysis,

THE FIRST LIEN STEERING COMMITTEE AND ITS ADVISORS MAKE NO REPRESENTATION OR WARRANTY
THAT, IF THE DEBTORS WERE IN FACT TO UNDERGO A CHAPTER 7 LIQUIDATION, THE ACTUAL RESULTS
WOULD OR WOULD NOT APPROXIMATE THE ESTIMATES AND ASSUMPTIONS REPRESENTED IN THE
LIQUIDATION ANALYSIS, ACTUAL RESULTS COULD VARY MATERIAllY.

                                                                      NOTES

Basis of Presentation

    (1) The Liquidation Analysis presents high, low, and average recovery scenarios, based upon a range
         of assumptions relating to the costs incurred during a liquidation and the proceeds realized
         therefrom, It is assumed that under a liquidation scenario, certain distinctive factors would limit
         recoveries from the sale of the Debtors' operations and other land assets. The Liquidation
         Analysis assumes that a chapter 7 trustee wil attempt to maximize recoveries by selling the
         Debtors' assets on an orderly basis over a period of twelve months commencing on January 1,
         2010, It is assumed that homes under construction as of this commencement date will be sold
         as is in their then current state of construction, Given the current depressed state of the
         homebuilding and real estate markets, as well as the limited availability of credit, this expedited
         sale process could materially reduce recoveries from the Debtors' assets,

    (2) Recovery values are estimated on a consolidated basis for all of               the Debtors' entities,
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   (3) Asset liquidation ranges are assumed to be estimated recovery amounts before deduction of
         any commissions or chapter 7 trustee fees, but net of property taxes, association dues, bond
         fees, and other operating costs specific to each asset,

Assets

   (1) Cash. The cash balance is the actual cash balance as of June 30, 2009, with certain roll-forward
         adjustments to estimate the cash balance as of 12/31/09.

   (2) Accounts Receivable - Pinnacle Grading, This accounts receivable balance represents
         receivables from grading contract work completed, and is assumed to have cash recovery
         ranging from 80% to 100% of book value,

   (3) Accounts Receivable - Other. This account represents miscellaneous receivables in the
         ordinary course of business and is assumed to have a cash recovery ranging from 0% to 20% of
         book value.

   (4) Due from Related Parties, This account represents related party receivables and is assumed to
       have zero value in liquidation,

   (5) Inventories, This account represents all real estate holdings, including homes under
       construction, completed homes and model homes, and developed and undeveloped land and is
        net of overhead costs incurred to operate the Debtors during the liquidation phase, The cash
         recovery for these assets ranges from 20,5% to 25.7% of book value,

    (6) Propertv. Plant & Eauipment. This includes furniture and fixtures, leasehold improvements,
        office equipment, vehicles, and the construction equipment of the grading company, Pinnacle
         Grading, LLC. The grading equipment is assumed to have a liquidation value, net of the notes on
         the equipment, of approximately $450,000, Inclusive of               the remaining assets, the total
         liquidation value is assumed to range from 16,2% to 31.4% of book value.

    (7) Deposits and Other Assets, This category of assets includes various prepaid expenses, utility
         deposits, and debt issuance costs, and is assumed to have zero value in a chapter 7 liquidation,


Liabilities and Wind-down Expenses

    (1) Bond Release Costs, During the prepetition period, the Debtors routinely used performance
         and improvement bonds tD provide assurance tD municipalities that certain infrastructure wDrk
         wDuld be cDmpleted in conjunctiDn with development Drders tied tD the DebtDrs' real estate
         develDpments. The prDjects assDciated with these bDnds include prDjects fDr "onsite"
         improvements (i.e., within the DebtDrs' develDpments) and "Dffsite" imprDvements (i.e" within
         the municipality but outside Df the DebtDrs' develDpment). In a hYPDtheticalliquidatiDn, it is
         assumed that the DebtDrs prDceed Dnly with Dnsite improvements that have a direct impact Dn
         the value Df the real estate assets and the ability tD sell such real estate assets, It is assumed
         that the CDSt tD cDmplete such Dnsite projects is treated as an Administrative Claim (by
         expending cash tD complete) and that nD prepetitiDn Claims frDm the bDnd issuers arise given
         that these projects are completed. It is assumed the Dffsite projects are nDt completed by the


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              Debtors and therefore give rise to General Unsecured Claims from the bond issuers against the
              Debtors, Any costs to be incurred are expected to be minimal as most assets wil be sold in an
              "as is" state.

        (2) Wind-down Exoenses. In addition to Administrative and Priority Claims, the wind-down
              expenses include expenses directly related to liquidation of the assets, such as commissions to
              real estate brokers of an average of 4% of estimated liquidation proceeds, and fees paid to a
              chapter 7 trustee and its professionals totaling approximately 2% of liquidation proceeds.

        (3) Secured Claims - Preoetition Secured Debt. These liabilties include the first and second lien
            outstanding debt, accrued interest and certain fees, as well as secured hedging agreements,

        (4) Other Secured Claims, This group of liabilities represents mechanics lien claims and claims by
              equipment lenders,

        (5) General Unsecured Claims, This group of liabilities includes prepetition claims by vendors and
            subcontractors, in addition to other unsecured claims, including anticipated claims by issuers of
              performance bonds due to the anticipated non-performance of the related work,

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    Rhodes Homes
,liqljidation Analysis
    Claims Recovery Schedule



                                                                   Amount

:   Total Assets Available to Creditors                             49,318,665

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     Total Wind Down Expenses                                        2,450,000
     Total Administrative Claims                                       750,000
     Total Priority Claims                                             125,000

    Estimated Recovery (Administrative and Priority Claims)          3,325,000
    Net Estimated Recovery                                                 100.0%


    ,Assets Available to Creditors Holding ()ther Secured Claims    45,993,665

     Total Other Secured Claims                                      2,300,000

    Estimated Recovery (Other Secured Claims)                        2,300,000
    Net Estimated Recovery                                                 100,0%

    Assets Available to Secured Creditors                           43,693,665

     Secured Claims - First lien                                   325,947,566

    Estimated Recovery (Secured Claims - First lien)                43,693,665
    Net Estimated Recovery                                                  13.4%

    Assets Available to Secured Creditors

     Secured Claims - Second lien                                   72,868,347

    Estimated Recovery(Secured Claims - Second lien)
    Net Estimated Recovery                                                   0,0%

    Assets Available to Unsecured Creditors

     Total Unsecured Claims                                         15,000,000

    Estimated Recovery (Unsecured Claims)
    Net Estimated Recovery                                                   0.0%



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